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                                                                   8                       UNITED STATES DISTRICT COURT
                                                                   9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                                                                  10
                                                                  11   NADER & SONS, LLC, and SISKO                 CASE NO. 2:20-cv-03141-SVW-JEM
HILL, FARRER & BURRILL LLP




                                                                       ENTERPRISES, LLC,
                             LOS ANGELES, CALIFORNIA 90071-3147
                              ONE CALIFORNIA PLAZA, 37TH FLOOR
                               A LIMITED LIABILITY PARTNERSHIP




                                                                  12                                                ORDER ENTERING STIPULATED
                                   300 SOUTH GRAND AVENUE
                                      ATTORNEYS AT LAW




                                                                                      Plaintiffs,                   PROTECTIVE ORDER
                                                                  13
                                                                             vs.
                                                                  14
                                                                       HOMAYOUN NAMVAR a/k/a
                                                                  15   TONY NAMVAR, an individual;
                                                                       KATAYOUN NAMVAR, a/k/a
                                                                  16   KATHY NAMVAR, an individual;
                                                                       HOOSHANG NAMVAR, a/k/a
                                                                  17   HOUSHANG NAMVAR, a/k/a
                                                                       SEAN NAMVAR, an individual;
                                                                  18   MOUSA NAMVAR, an individual;
                                                                       RAMIN NAMVAR, an individual;
                                                                  19   PENTACO MANAGEMENT, INC.,
                                                                       a California corporation; LIGHT
                                                                  20   SOURCE MANAGEMENT, LLC, a
                                                                       Delaware limited liability company;
                                                                  21   ARNY EQUITY PARTNERS, LLC,
                                                                       a Delaware limited liability
                                                                  22   company; FOUNTAIN EQUITY
                                                                       ADVISORS, LLC, a Delaware
                                                                  23   limited liability company; HINO 8,
                                                                       LLC, a California limited liability
                                                                  24   company, a/k/a HINO-8, LLC;
                                                                       EQUIMAX MORTGAGE & LOAN,
                                                                  25   a California corporation; YARN
                                                                       EQUITY PARTNERS, LLC, a
                                                                  26   Delaware limited liability company;
                                                                       14 OAKS ASSOCIATES, LLC, a
                                                                  27   California limited liability company;
                                                                       GREEN TREE INVESTMENT
                                                                  28   PARTNERS, LLC, a Delaware
                                                                                                                                                  2:20-CV-03141-SVW-JEM

                                                                                          [PROPOSED] ORDER ENTERING STIPULATED PROTECTIVE ORDER
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                                                                   1   limited liability company; WHITE
                                                                       WATER FUNDING, LLC, a
                                                                   2   Delaware limited liability company;
                                                                       EASTBORNE INVESTMENT,
                                                                   3   LLC, a Delaware limited liability
                                                                       company; TRIFISH, LLC, a
                                                                   4   California limited liability company;
                                                                       WOODMAN PARTNERS, LLC, a
                                                                   5   California limited liability company;
                                                                       TITANIUM FABRICS, LLC, a
                                                                   6   Delaware limited liability company;
                                                                       LINE APPAREL, LLC, a Delaware
                                                                   7   limited liability company;
                                                                       PACESETTER FABRICS, LLC, a
                                                                   8   California limited liability company;
                                                                       MASTER’S HOLDINGS, LLC, a
                                                                   9   Delaware limited liability company;
                                                                       FRIENDSHIP, LLC, a California
                                                                  10   limited liability company; EILEL
                                                                       NAMVAR, an individual;
                                                                  11   GUILBERT TEX, INC., a California
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                                                                       corporation; ROBERT
                             LOS ANGELES, CALIFORNIA 90071-3147
                              ONE CALIFORNIA PLAZA, 37TH FLOOR
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                                                                  12   MOBASSERI, Trustee of the Rahm
                                   300 SOUTH GRAND AVENUE
                                      ATTORNEYS AT LAW




                                                                       Irrevocable Trust a/k/a the Raham
                                                                  13   Irrevocable Trust and formerly
                                                                       known as the 2009 Tony and Kathy
                                                                  14   Children’s Irrevocable Trust;
                                                                       HOMAYOUN “TONY” NAMVAR,
                                                                  15   Trustee of the Tony and Kathy
                                                                       Namvar Trust a/k/a the Tony and
                                                                  16   Kathy Family Trust; DOES 2 to 10,
                                                                       as current and/or former trustees of
                                                                  17   the RAHM IRREVOCABLE
                                                                       TRUST, a/k/a the RAHAM
                                                                  18   IRREVOCABLE TRUST and
                                                                       formerly known as the 2009 TONY
                                                                  19   AND KATHY CHILDREN’S
                                                                       IRREVOCABLE TRUST; DOES 12
                                                                  20   to 20, as current and/or former
                                                                       trustees of the TONY AND KATHY
                                                                  21   NAMVAR TRUST, a/k/a the TONY
                                                                       AND KATHY FAMILY TRUST;
                                                                  22   and DOES 21 to 100, inclusive,
                                                                  23                   Defendants.
                                                                  24
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                                                                                               ORDER ENTERING STIPULATED PROTECTIVE ORDER
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                                                                   1                                          ORDER
                                                                   2          Having considered the Stipulated Protective Order (“Protective Order”)
                                                                   3   submitted by the parties, and finding good cause for entry of the Protective Order,
                                                                   4   the Court orders as follows:
                                                                   5          The Protective Order submitted by the parties on April 27, 2021 is hereby
                                                                   6   filed and entered as of the date below. The full text of the Protective Order is
                                                                   7   reproduced in Attachment 1 below.
                                                                   8
                                                                   9
                                                                  10   DATED: 4/28/21
                                                                  11                                                   HON. JOHN E. McDERMOTT
HILL, FARRER & BURRILL LLP




                                                                                                                       United States Magistrate Judge
                             LOS ANGELES, CALIFORNIA 90071-3147
                              ONE CALIFORNIA PLAZA, 37TH FLOOR
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                                                                                               ORDER ENTERING STIPULATED PROTECTIVE ORDER
                                                   Case 2:20-cv-03141-SVW-JEM Document 149 Filed 04/28/21 Page 4 of 18 Page ID #:4377



                                                                   1
                                                                   2                                     ATTACHMENT 1

                                                                   3                        STIPULATED PROTECTIVE ORDER

                                                                   4   1.    PURPOSES AND LIMITATIONS

                                                                   5         Discovery in this action is likely to involve production of confidential,

                                                                   6   proprietary, or private information for which special protection from public

                                                                   7   disclosure and from use for any purpose other than prosecuting this litigation may

                                                                   8   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to

                                                                   9   enter the following Stipulated Protective Order. The parties acknowledge that this

                                                                  10   Stipulated Protective Order does not confer blanket protections on all disclosures or

                                                                  11   responses to discovery and that the protection it affords from public disclosure and
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                              ONE CALIFORNIA PLAZA, 37TH FLOOR




                                                                       use extends only to the limited information or items that are entitled to confidential
                               A LIMITED LIABILITY PARTNERSHIP




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                                                                  13   treatment under the applicable legal principles. The parties further acknowledge, as

                                                                  14   set forth in Section 13.3 below, that this Stipulated Protective Order does not entitle

                                                                  15   them to file confidential information under seal; Local Rule 79-5 sets forth the

                                                                  16   procedures that must be followed and the standards that will be applied when a

                                                                  17   party seeks permission from the Court to file material under seal.

                                                                  18
                                                                  19   2.    GOOD CAUSE STATEMENT

                                                                  20         This action is likely to involve commercial, financial and/or proprietary

                                                                  21   information for which special protection from public disclosure and from use for

                                                                  22   any purpose other than prosecution of this action is warranted. Such confidential

                                                                  23   and proprietary materials and information consist of, among other things,

                                                                  24   confidential business or financial information, information regarding confidential

                                                                  25   business practices, other commercial information (including information

                                                                  26   implicating privacy rights of third parties), personal financial information of

                                                                  27   individuals, and information otherwise generally unavailable to the public or which

                                                                  28   may be privileged or otherwise protected from disclosure under state or federal
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                                                                                                ORDER ENTERING STIPULATED PROTECTIVE ORDER
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                                                                   1   statutes, court rules, case decisions, or common law. Accordingly, to expedite the
                                                                   2   flow of information, to facilitate the prompt resolution of disputes over
                                                                   3   confidentiality of discovery materials, to adequately protect information the parties
                                                                   4   are entitled to keep confidential, to ensure that the parties are permitted reasonable
                                                                   5   necessary uses of such material in preparation for and in the conduct of trial, to
                                                                   6   address their handling at the end of the litigation, and to serve the ends of justice, a
                                                                   7   protective order for such information is justified in this matter. It is the intent of the
                                                                   8   parties that information will not be designated as confidential for tactical reasons
                                                                   9   and that nothing be so designated without a good faith belief that it has been
                                                                  10   maintained in a confidential, non-public manner, and there is good cause why it
                                                                  11   should not be part of the public record of this case.
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                                                                  12
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                                                                  13   3.    DEFINITIONS
                                                                  14         3.1.   Action: This Stipulated Protective Order involves this pending federal
                                                                  15                lawsuit, Nader & Sons, LLC, et al. v. Homayoun Namvar, et al.,
                                                                  16                United States District Court for the Central District of California, Case
                                                                  17                No. 20-cv-03141-SVW-JEM
                                                                  18         3.2.   Challenging Party: A Party or Nonparty that challenges the
                                                                  19                designation of information or items under this Stipulated Protective
                                                                  20                Order.
                                                                  21         3.3.   “CONFIDENTIAL” Information or Items: Information (regardless of
                                                                  22                how it is generated, stored or maintained) or tangible things that
                                                                  23                qualify for protection under Federal Rule of Civil Procedure 26(c), and
                                                                  24                as specified above in the Good Cause Statement.
                                                                  25         3.4.   Counsel: Outside Counsel of Record and In-House Counsel (as well
                                                                  26                as their support staff).
                                                                  27         3.5.   Designating Party: A Party or Nonparty that designates information or
                                                                  28                items that it produces in disclosures or in responses to discovery as
                                                                                                                  -5-                          2:20-CV-03141-SVW-JEM

                                                                                                ORDER ENTERING STIPULATED PROTECTIVE ORDER
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                                                                   1          “CONFIDENTIAL.”
                                                                   2   3.6.   Disclosure or Discovery Material: All items or information, regardless
                                                                   3          of the medium or manner in which it is generated, stored, or
                                                                   4          maintained (including, among other things, testimony, transcripts, and
                                                                   5          tangible things), that is produced or generated in disclosures or
                                                                   6          responses to discovery in this matter.
                                                                   7   3.7.   Expert: A person with specialized knowledge or experience in a
                                                                   8          matter pertinent to the litigation who has been retained by a Party or its
                                                                   9          counsel to serve as an expert witness or as a consultant in this Action.
                                                                  10   3.8.   In-House Counsel: Attorneys who are employees of a party to this
                                                                  11          Action. In-House Counsel does not include Outside Counsel of
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                                                                  12          Record or any other outside counsel.
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                                                                  13   3.9.   Nonparty: Any natural person, partnership, corporation, association,
                                                                  14          or other legal entity not named as a Party to this action.
                                                                  15   3.10. Outside Counsel of Record: Attorneys who are not employees of a
                                                                  16          party to this Action but are retained to represent or advise a party to
                                                                  17          this Action and have appeared in this Action on behalf of that party or
                                                                  18          are affiliated with a law firm which has appeared on behalf of that
                                                                  19          party, and includes support staff.
                                                                  20   3.11. Party: Any party to this Action, including all of its officers, directors,
                                                                  21          employees, consultants, retained experts, In-House Counsel, and
                                                                  22          Outside Counsel of Record (and their support staffs).
                                                                  23   3.12. Producing Party: A Party or Nonparty that produces Disclosure or
                                                                  24          Discovery Material in this Action.
                                                                  25   3.13. Professional Vendors: Persons or entities that provide litigation
                                                                  26          support services (e.g., photocopying, videotaping, translating,
                                                                  27          preparing exhibits or demonstrations, and organizing, storing, or
                                                                  28          retrieving data in any form or medium) and their employees and
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                                                                                         ORDER ENTERING STIPULATED PROTECTIVE ORDER
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                                                                   1                 subcontractors.
                                                                   2          3.14. Protected Material: Any Disclosure or Discovery Material that is
                                                                   3                 designated as “CONFIDENTIAL.”
                                                                   4          3.15. Receiving Party: A Party that receives Disclosure or Discovery
                                                                   5                 Material from a Producing Party.
                                                                   6
                                                                   7   4.     SCOPE
                                                                   8          The protections conferred by this Stipulated Protective Order cover not only
                                                                   9   Protected Material, but also (1) any information copied or extracted from Protected
                                                                  10   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
                                                                  11   and (3) any testimony, conversations, or presentations by Parties or their Counsel
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                                                                  12   that might reveal Protected Material.
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                                                                  13          Any use of Protected Material at trial shall be governed by the orders of the
                                                                  14   trial judge. This Stipulated Protective Order does not govern the use of Protected
                                                                  15   Material at trial.
                                                                  16
                                                                  17   5.     DURATION
                                                                  18          Even after final disposition of this litigation, the confidentiality obligations
                                                                  19   imposed by this Stipulated Protective Order shall remain in effect until a
                                                                  20   Designating Party agrees otherwise in writing or a court order otherwise directs.
                                                                  21   Final disposition shall be deemed to be the later of (1) dismissal of all claims and
                                                                  22   defenses in this Action, with or without prejudice; and (2) final judgment herein
                                                                  23   after the completion and exhaustion of all appeals, rehearings, remands, trials, or
                                                                  24   reviews of this Action, including the time limits for filing any motions or
                                                                  25   applications for extension of time pursuant to applicable law.
                                                                  26
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                                                                   1   6.   DESIGNATING PROTECTED MATERIAL
                                                                   2        6.1.   Exercise of Restraint and Care in Designating Material for Protection.
                                                                   3                     Each Party or Nonparty that designates information or items for
                                                                   4               protection under this Stipulated Protective Order must take care to
                                                                   5               limit any such designation to specific material that qualifies under the
                                                                   6               appropriate standards. The Designating Party must designate for
                                                                   7               protection only those parts of material, documents, items, or oral or
                                                                   8               written communications that qualify so that other portions of the
                                                                   9               material, documents, items, or communications for which protection is
                                                                  10               not warranted are not swept unjustifiably within the ambit of this
                                                                  11               Stipulated Protective Order.
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                                                                  12                     Mass, indiscriminate, or routinized designations are prohibited.
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                                                                  13               Designations that are shown to be clearly unjustified or that have been
                                                                  14               made for an improper purpose (e.g., to unnecessarily encumber the
                                                                  15               case development process or to impose unnecessary expenses and
                                                                  16               burdens on other parties) may expose the Designating Party to
                                                                  17               sanctions.
                                                                  18        6.2.   Manner and Timing of Designations.
                                                                  19                     Except as otherwise provided in this Stipulated Protective Order
                                                                  20               (see, e.g., Section 6.2(a)), or as otherwise stipulated or ordered,
                                                                  21               Disclosure or Discovery Material that qualifies for protection under
                                                                  22               this Stipulated Protective Order must be clearly so designated before
                                                                  23               the material is disclosed or produced.
                                                                  24                     Designation in conformity with this Stipulated Protective Order
                                                                  25               requires the following:
                                                                  26               (a)   For information in documentary form (e.g., paper or electronic
                                                                  27                     documents, but excluding transcripts of depositions or other
                                                                  28                     pretrial or trial proceedings), that the Producing Party affix at a
                                                                                                                  -8-                        2:20-CV-03141-SVW-JEM

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                                                                   1         minimum, the legend “CONFIDENTIAL” to each page that
                                                                   2         contains protected material. If only a portion or portions of the
                                                                   3         material on a page qualifies for protection, the Producing Party
                                                                   4         also must clearly identify the protected portion(s) (e.g., by
                                                                   5         making appropriate markings in the margins).
                                                                   6               A Party or Nonparty that makes original documents
                                                                   7         available for inspection need not designate them for protection
                                                                   8         until after the inspecting Party has indicated which documents it
                                                                   9         would like copied and produced. During the inspection and
                                                                  10         before the designation, all of the material made available for
                                                                  11         inspection shall be deemed “CONFIDENTIAL.” After the
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                                                                  12         inspecting Party has identified the documents it wants copied
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                                                                  13         and produced, the Producing Party must determine which
                                                                  14         documents, or portions thereof, qualify for protection under this
                                                                  15         Stipulated Protective Order. Then, before producing the
                                                                  16         specified documents, the Producing Party must affix the legend
                                                                  17         “CONFIDENTIAL” to each page that contains Protected
                                                                  18         Material. If only a portion or portions of the material on a page
                                                                  19         qualifies for protection, the Producing Party also must clearly
                                                                  20         identify the protected portion(s) (e.g., by making appropriate
                                                                  21         markings in the margins).
                                                                  22   (b)   For testimony given in depositions, that the Designating Party
                                                                  23         identify the Disclosure or Discovery Material on the record,
                                                                  24         before the close of the deposition, all protected testimony.
                                                                  25   (c)   For information produced in nondocumentary form, and for any
                                                                  26         other tangible items, that the Producing Party affix in a
                                                                  27         prominent place on the exterior of the container or containers in
                                                                  28         which the information is stored the legend “CONFIDENTIAL.”
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                                                                    1                     If only a portion or portions of the information warrants
                                                                    2                     protection, the Producing Party, to the extent practicable, shall
                                                                    3                     identify the protected portion(s).
                                                                    4               (d)   For information sought by subpoena from a third party, if a
                                                                    5                     party contends that the requested documents contain
                                                                    6                     CONFIDENTIAL information, that party shall promptly notify
                                                                    7                     the party who issued the subpoena that the information is
                                                                    8                     CONFIDENTIAL. The subpoenaing party shall promptly
                                                                    9                     thereafter affix the legend “CONFIDENTIAL” to each page of
                                                                   10                     the produced documents.
                                                                   11        6.3.   Inadvertent Failure to Designate.
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                                                                   12                     If timely corrected, an inadvertent failure to designate qualified
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                                                                   13               information or items does not, standing alone, waive the Designating
                                                                   14               Party’s right to secure protection under this Stipulated Protective Order
                                                                   15               for such material. Upon timely correction of a designation, the
                                                                   16               Receiving Party must make reasonable efforts to assure that the
                                                                   17               material is treated in accordance with the provisions of this Stipulated
                                                                   18               Protective Order.
                                                                   19
                                                                   20   7.   CHALLENGING CONFIDENTIALITY DESIGNATIONS
                                                                   21        7.1.   Timing of Challenges.
                                                                   22                     Any Party or Nonparty may challenge a designation of
                                                                   23               confidentiality at any time that is consistent with the Court’s
                                                                   24               Scheduling Order.
                                                                   25        7.2.   Meet and Confer.
                                                                   26                     The Challenging Party shall initiate the dispute resolution
                                                                   27               process, which shall comply with Local Rule 37.1 et seq.
                                                                   28
                                                                                                                 - 10 -                      2:20-CV-03141-SVW-JEM

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                                                                    1        7.3.   Burden of Persuasion.
                                                                    2                     The burden of persuasion in any such challenge proceeding shall
                                                                    3               be on the Designating Party. Frivolous challenges, and those made for
                                                                    4               an improper purpose (e.g., to harass or impose unnecessary expenses
                                                                    5               and burdens on other parties) may expose the Challenging Party to
                                                                    6               sanctions. Unless the Designating Party has waived or withdrawn the
                                                                    7               confidentiality designation, all parties shall continue to afford the
                                                                    8               material in question the level of protection to which it is entitled under
                                                                    9               the Producing Party’s designation until the Court rules on the
                                                                   10               challenge.
                                                                   11
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                                                                   12   8.   ACCESS TO AND USE OF PROTECTED MATERIALS
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                                                                   13        8.1.   Basic Principles.
                                                                   14                     A Receiving Party may use Protected Material that is disclosed
                                                                   15               or produced by another Party or by a Nonparty in connection with this
                                                                   16               Action only for prosecuting, defending, or attempting to settle this
                                                                   17               Action. Such Protected Material may be disclosed only to the
                                                                   18               categories of persons and under the conditions described in this
                                                                   19               Stipulated Protective Order. When the Action reaches a final
                                                                   20               disposition, a Receiving Party must comply with the provisions of
                                                                   21               Section 14 below.
                                                                   22                     Protected Material must be stored and maintained by a
                                                                   23               Receiving Party at a location and in a secure manner that ensures that
                                                                   24               access is limited to the persons authorized under this Stipulated
                                                                   25               Protective Order.
                                                                   26        8.2.   Disclosure of “CONFIDENTIAL” Information or Items.
                                                                   27                     Unless otherwise ordered by the Court or permitted in writing
                                                                   28               by the Designating Party, a Receiving Party may disclose any
                                                                                                                   - 11 -                     2:20-CV-03141-SVW-JEM

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                                                                    1              information or item designated “CONFIDENTIAL” only to:
                                                                    2              (a)   The Receiving Party’s Outside Counsel of Record, as well as
                                                                    3                    employees of said Outside Counsel of Record to whom it is
                                                                    4                    reasonably necessary to disclose the information for this Action;
                                                                    5              (b)   Experts of the Receiving Party to whom disclosure is reasonably
                                                                    6                    necessary for this Action and who have signed the
                                                                    7                    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                                                    8              (c)   The Court and its personnel;
                                                                    9              (d)   Court reporters and their staff;
                                                                   10              (e)   Professional jury or trial consultants, mock jurors, and
                                                                   11                    Professional Vendors to whom disclosure is reasonably
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                                                                   12                    necessary or this Action and who have signed the
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                                                                   13                    “Acknowledgment and Agreement to be Bound” (Exhibit A);
                                                                   14              (f)   The author or recipient of a document containing the
                                                                   15                    information or a custodian or other person who otherwise
                                                                   16                    possessed or knew the information;
                                                                   17              (g)   During their depositions, witnesses, and attorneys for witnesses,
                                                                   18                    in the Action to whom disclosure is reasonably necessary
                                                                   19                    provided: (i) the deposing party requests that the witness sign
                                                                   20                    the “Acknowledgment and Agreement to Be Bound” (Exhibit
                                                                   21                    A); and (ii) the witness will not be permitted to keep any
                                                                   22                    confidential information unless unless otherwise agreed by the
                                                                   23                    Designating Party or ordered by the Court. Pages of transcribed
                                                                   24                    deposition testimony or exhibits to depositions that reveal
                                                                   25                    Protected Material may be separately bound by the court
                                                                   26                    reporter and may not be disclosed to anyone except as permitted
                                                                   27                    under this Stipulated Protective Order; and
                                                                   28              (h)   Any mediator or settlement officer, and their supporting
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                                                                    1                       personnel, mutually agreed upon by any of the parties engaged
                                                                    2                       in settlement discussions.
                                                                    3
                                                                    4   9.    PROTECTED MATERIAL SUBPOENAED OR ORDERED
                                                                    5         PRODUCED IN OTHER LITIGATION
                                                                    6         If a Party is served with a subpoena or a court order issued in other litigation
                                                                    7   that compels disclosure of any information or items designated in this Action as
                                                                    8   “CONFIDENTIAL,” that Party must:
                                                                    9         (a)    Promptly notify in writing the Designating Party. Such notification
                                                                   10                shall include a copy of the subpoena or court order;
                                                                   11         (b)    Promptly notify in writing the party who caused the subpoena or order
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                                                                   12                to issue in the other litigation that some or all of the material covered
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                                                                   13                by the subpoena or order is subject to this Stipulated Protective Order.
                                                                   14                Such notification shall include a copy of this Stipulated Protective
                                                                   15                Order; and
                                                                   16         (c)    Cooperate with respect to all reasonable procedures sought to be
                                                                   17                pursued by the Designating Party whose Protected Material may be
                                                                   18                affected.
                                                                   19         If the Designating Party timely seeks a protective order, the Party served with
                                                                   20   the subpoena or court order shall not produce any information designated in this
                                                                   21   action as “CONFIDENTIAL” before a determination by the court from which the
                                                                   22   subpoena or order issued, unless the Party has obtained the Designating Party’s
                                                                   23   permission. The Designating Party shall bear the burden and expense of seeking
                                                                   24   protection in that court of its confidential material and nothing in these provisions
                                                                   25   should be construed as authorizing or encouraging a Receiving Party in this Action
                                                                   26   to disobey a lawful directive from another court.
                                                                   27
                                                                   28
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                                                                    1   10.   A NONPARTY’S PROTECTED MATERIAL SOUGHT TO BE
                                                                    2         PRODUCED IN THIS LITIGATION
                                                                    3         10.1. Application.
                                                                    4                        The terms of this Stipulated Protective Order are applicable to
                                                                    5               information produced by a Nonparty in this Action and designated as
                                                                    6               “CONFIDENTIAL.” Such information produced by Nonparties in
                                                                    7               connection with this litigation is protected by the remedies and relief
                                                                    8               provided by this Stipulated Protective Order. Nothing in these
                                                                    9               provisions should be construed as prohibiting a Nonparty from seeking
                                                                   10               additional protections.
                                                                   11         10.2. Notification.
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                                                                   12                        In the event that a Party is required, by a valid discovery
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                                                                   13               request, to produce a Nonparty’s confidential information in its
                                                                   14               possession, and the Party is subject to an agreement with the Nonparty
                                                                   15               not to produce the Nonparty’s confidential information, then the Party
                                                                   16               shall:
                                                                   17               (a)      Promptly notify in writing the Requesting Party and the
                                                                   18                        Nonparty that some or all of the information requested is subject
                                                                   19                        to a confidentiality agreement with a Nonparty;
                                                                   20               (b)      Promptly provide the Nonparty with a copy of the Stipulated
                                                                   21                        Protective Order in this Action, the relevant discovery
                                                                   22                        request(s), and a reasonably specific description of the
                                                                   23                        information requested; and
                                                                   24               (c)      Make the information requested available for inspection by the
                                                                   25                        Nonparty, if requested.
                                                                   26         10.3. Conditions of Production.
                                                                   27                        If the Nonparty fails to seek a protective order from this Court
                                                                   28               within fourteen (14) days after receiving the notice and accompanying
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                                                                    1                information, the Receiving Party may produce the Nonparty’s
                                                                    2                confidential information responsive to the discovery request. If the
                                                                    3                Nonparty timely seeks a protective order, the Receiving Party shall not
                                                                    4                produce any information in its possession or control that is subject to
                                                                    5                the confidentiality agreement with the Nonparty before a
                                                                    6                determination by the Court. Absent a court order to the contrary, the
                                                                    7                Nonparty shall bear the burden and expense of seeking protection in
                                                                    8                this Court of its Protected Material.
                                                                    9
                                                                   10   11.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                                                                   11         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
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                                                                   12   Protected Material to any person or in any circumstance not authorized under this
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                                                                   13   Stipulated Protective Order, the Receiving Party immediately must (1) notify in
                                                                   14   writing the Designating Party of the unauthorized disclosures, (2) use its best
                                                                   15   efforts to retrieve all unauthorized copies of the Protected Material, (3) inform the
                                                                   16   person or persons to whom unauthorized disclosures were made of all the terms of
                                                                   17   this Stipulated Protective Order, and (4) request such person or persons to execute
                                                                   18   the “Acknowledgment and Agreement to be Bound” (Exhibit A).
                                                                   19
                                                                   20   12.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                                                                   21         PROTECTED MATERIAL
                                                                   22         When a Producing Party gives notice to Receiving Parties that certain
                                                                   23   inadvertently produced material is subject to a claim of privilege or other
                                                                   24   protection, the obligations of the Receiving Parties are those set forth in Federal
                                                                   25   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
                                                                   26   whatever procedure may be established in an e-discovery order that provides for
                                                                   27   production without prior privilege review. Pursuant to Federal Rule of Evidence
                                                                   28   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
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                                                                    1   of a communication or information covered by the attorney-client privilege or work
                                                                    2   product protection, the parties may incorporate their agreement in the Stipulated
                                                                    3   Protective Order submitted to the Court.
                                                                    4
                                                                    5   13.   MISCELLANEOUS
                                                                    6         13.1. Right to Further Relief.
                                                                    7                      Nothing in this Stipulated Protective Order abridges the right of
                                                                    8               any person to seek its modification by the Court in the future.
                                                                    9         13.2. Right to Assert Other Objections.
                                                                   10                      By stipulating to the entry of this Stipulated Protective Order, no
                                                                   11               Party waives any right it otherwise would have to object to disclosing
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                                                                   12               or producing any information or item on any ground not addressed in
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                                                                   13               this Stipulated Protective Order. Similarly, no Party waives any right
                                                                   14               to object on any ground to use in evidence of any of the material
                                                                   15               covered by this Stipulated Protective Order.
                                                                   16         13.3. Filing Protected Material.
                                                                   17                      A Party that seeks to file under seal any Protected Material must
                                                                   18               comply with Local Rule 79-5. Protected Material may only be filed
                                                                   19               under seal pursuant to a court order authorizing the sealing of the
                                                                   20               specific Protected Material at issue. If a Party's request to file
                                                                   21               Protected Material under seal is denied by the Court, then the
                                                                   22               Receiving Party may file the information in the public record unless
                                                                   23               otherwise instructed by the Court.
                                                                   24
                                                                   25   14.   FINAL DISPOSITION
                                                                   26         After the final disposition of this Action, within sixty (60) days of a written
                                                                   27   request by the Designating Party, each Receiving Party must return all Protected
                                                                   28   Material to the Producing Party or destroy such material. As used in this
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                                                                    1   subdivision, “all Protected Material” includes all copies, abstracts, compilations,
                                                                    2   summaries, and any other format reproducing or capturing any of the Protected
                                                                    3   Material. Whether the Protected Material is returned or destroyed, the Receiving
                                                                    4   Party must submit a written certification to the Producing Party (and, if not the
                                                                    5   same person or entity, to the Designating Party) by the 60-day deadline that
                                                                    6   (1) identifies (by category, where appropriate) all the Protected Material that was
                                                                    7   returned or destroyed and (2) affirms that the Receiving Party has not retained any
                                                                    8   copies, abstracts, compilations, summaries or any other format reproducing or
                                                                    9   capturing any of the Protected Material. Notwithstanding this provision, Counsel is
                                                                   10   entitled to retain an archival copy of all pleadings; motion papers; trial, deposition,
                                                                   11   and hearing transcripts; legal memoranda; correspondence; deposition and trial
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                                                                   12   exhibits; expert reports; attorney work product; and consultant and expert work
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                                                                   13   product, even if such materials contain Protected Material. Any such archival
                                                                   14   copies that contain or constitute Protected Material remain subject to this Stipulated
                                                                   15   Protective Order as set forth in Section 5.
                                                                   16
                                                                   17   15.   VIOLATION
                                                                   18         Any violation of this Stipulated Order may be punished by any and all
                                                                   19   appropriate measures including, without limitation, contempt proceedings and/or
                                                                   20   monetary sanctions.
                                                                   21
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                                                                    1                                         EXHIBIT A
                                                                    2            ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                                                                    3
                                                                    4         I, _____________________________ [print or type full name], of
                                                                    5   _________________ [print or type full address], declare under penalty of perjury
                                                                    6   that I have read in its entirety and understand the Stipulated Protective Order that
                                                                    7   was issued by the United States District Court for the Central District of California
                                                                    8   on [date] in the case of ___________ [insert formal name of the case and the
                                                                    9   number and initials assigned to it by the court]. I agree to comply with and to be
                                                                   10   bound by all the terms of this Stipulated Protective Order and I understand and
                                                                   11   acknowledge that failure to so comply could expose me to sanctions and
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                                                                   12   punishment in the nature of contempt. I solemnly promise that I will not disclose in
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                                                                   13   any manner any information or item that is subject to this Stipulated Protective
                                                                   14   Order to any person or entity except in strict compliance with the provisions of this
                                                                   15   Order.
                                                                   16         I further agree to submit to the jurisdiction of the United States District Court
                                                                   17   for the Central District of California for enforcing the terms of this Stipulated
                                                                   18   Protective Order, even if such enforcement proceedings occur after termination of
                                                                   19   this action. I hereby appoint __________________________ [print or type full
                                                                   20   name] of _______________________________________ [print or type full
                                                                   21   address and telephone number] as my California agent for service of process in
                                                                   22   connection with this action or any proceedings related to enforcement of this
                                                                   23   Stipulated Protective Order.
                                                                   24         Date: ______________________________________
                                                                   25         City and State where sworn and signed: ___________________________
                                                                   26         Printed name: _______________________________
                                                                   27         Signature: __________________________________
                                                                   28
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